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 5   Attorney for Defendant

 6

 7                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO
 8

 9   MARIA FERNANDA ELOSU and ROBERT
     LOUIS BRACE, Individuals,                         Case No. 1:19-cv-267
10
                             Plaintiff,                DEFENDANT’S MOTION TO
11                                                     EXCLUDE EXPERT TESTIMONY
     v.                                                PURSUANT TO DAUBERT AND
12                                                     ER 702
     MIDDLEFORK RANCH
13   INCORPORATED, an Idaho Corporation,

14                           Defendant

15
             Defendant, Middlefork Ranch, files the following Motion to Exclude Plaintiff’s
16
     experts, pursuant to Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993), and ER
17
     702. Specifically, Defendant requests that this Court enter an order to:
18

19           1.    Exclude the opinions of Plaintiff’s experts that are advanced without sufficient

20   factual or scientific basis, including:

21                 a. Plaintiff’s fire investigator, Michael Koster’s speculative and unsupported
22
                       opinion regarding the cause and origin of the fire;
23
                   b. Plaintiff’s mechanical engineer, Richard Mumper’s opinion regarding the
24
                       cause of the fire that is unrelated to his engineering expertise; and
25
                   c. Mr. Mumper’s legal conclusions and factual statements.
26

27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 1                                                 510 W. RIVERSIDE AVE., #300
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 1           2.    Exclude untimely materials and expert analysis not contained in expert reports,
 2   not disclosed in accordance with Court Order or civil rules, and not relied upon as a bases for
 3
     opinions. This includes questionable “experiments” and analyses for which Defendant had
 4
     no fair opportunity to respond:
 5
                   a. Spontaneous combustion “testing” performed by Mr. Koster and chemist
 6

 7                      Doug Byron in Mr. Koster’s back yard;

 8                 b.   Mr. Mumper’s air flow analysis and related computer modeling.

 9                               FACTS RELEVANT TO MOTION 1
10
     Cabin and Events Leading to Fire
11
             1.    Plaintiffs owned a vacation cabin in remote Valley County, Idaho, at
12
     Middlefork Ranch, Inc. (known as Pistol Creek Ranch) on the Middle Fork of the Salmon
13
     River. The cabin was commonly referred to as Cabin #16. The Ranch and cabin are accessed
14

15   only by a dirt airstrip. (ECF 1, ¶¶ 4-5, 8).

16           2.    On July 20, 2017, Cabin #16 burned to the ground and was a complete and total
17   loss. (ECF 1, ¶¶ 7, 21). There was no one at the cabin at the time of the fire, and there are no
18
     witnesses to how the fire started.
19
             3.    Cabin #16 had a “wrap around” covered deck, which extended all along the
20
     east (river facing) side of the cabin, and partially around the south and north sides. (The
21

22   following photo is of the north-east corner: the long east deck is to the left, and the short

23   north deck is in the center of the photo in the shade.).

24

25
     1
26    All referenced deposition excerpts and exhibits are attached as Exhibits to the Declaration
     of counsel, Gerald Kobluk.
27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 2                                                 510 W. RIVERSIDE AVE., #300
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11   (Rauch Depo., Exh. 8).

12          4.     The day before the fire, on July 19, 2017, Plaintiff Robert Brace, stained
13   various surfaces of the decks and posts with Penofin oil stain. (ECF 1, ¶ 13). This included
14
     all of the east deck, posts, and the north deck. (Brace Depo. 17:15-18:15; 25:6-7).
15
            5.     Pursuant to the Penofin manufacturer, Penofin oil becomes dry to the touch in
16
     four hours, and is serviceable in 12 hours. (Koster Depo. 69:9-21). The Penofin oil can also
17

18   contains a warning that the oil stain is flammable and there is a potential for “spontaneous

19   combustion.” (Id. at 50:18-25).

20          6.     On the north deck at the time Plaintiff stained the deck was a propane
21
     refrigerator. (ECF 1, ¶ 14; Brace Depo. 42:7-9). Plaintiff applied oil stain up to and around
22
     the fridge, but not underneath it. (Brace Depo. 38:10-20). The fridge was on and in use at
23
     the time. The fridge had a lit pilot light in the back. Plaintiff did not turn the pilot light off
24
     during or after applying the oil stain. (Id. at 89:18-21).
25

26

27
     DEFENDANT’S MOTION TO EXCLUDE                                                   KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 3                                                   510 W. RIVERSIDE AVE., #300
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 1          7.     That night, Plaintiffs had guests over. An old couch and a $5,000 teak picnic
 2   table that had been moved off the deck during staining were moved back. (Brace Depo.
 3
     18:22-20:5; Elosu Depo. 12:12-20).       Plaintiff Fernanda Elosu and her guest smoked
 4
     cigarettes while sitting on the newly stained deck. (Elosu Depo. 12:21-13:3; 16:19-25; 19:4-
 5
     21; and 21:17-19). Plaintiff Brace found ashes on the newly stained deck the next morning.
 6

 7   (Brace Depo. 32:11-14).

 8          8.     Plaintiffs claim the deck was still wet the next morning, July 20, 2017, and they

 9   attempted to clean the wet spots with cotton rags. (ECF 1, ¶¶ 14-16; Brace Depo. 26:18-25;
10
     27:22-29:13; Elosu Depo. 25:11-24; 29:18-25; 30:11-14 and 31:9-33:23). Whether and how
11
     those rags were disposed of is in dispute.
12
            9.     Plaintiff Brace, left the cabin and flew out by 8:00 am, leaving the rags he used
13
     on the east deck for his wife (Plaintiff Elosu) and young son. (ECF 1, ¶ 15; Brace Depo.
14

15   30:22-31:1 and 31:8-10; Elosu Depo. 26:17-23). Plaintiff Elosu had another cigarette that

16   morning, but does not recall what happened to the butt. (Elosu Depo. 60:20-22 and 91:12-
17   22).
18
            10.    Around lunchtime, as Plaintiff Elosu and her children prepared to go to a
19
     swimming hole on the river with friends, a Ranch employee came by to check the propane.
20
     (ECF 1, ¶¶ 16-17; Elosu Depo. 43:18-44:13). He found the propane attached to the fridge
21

22   on the north deck either low or out (it is disputed whether the fridge was still on or had

23   stopped during the night). (ECF 1, ¶¶ 18; Elosu Depo. 51:9-10 and 53:2-7). The vegetables

24   and contents of the fridge were still cold. (ECF 1, ¶ 14; Elosu Depo. 51:5-10).
25          11.    It is disputed whether the north deck near the fridge was still wet. What is not
26
     disputed is that Plaintiff Elosu had a discussion with the Ranch employee, had him change
27
     DEFENDANT’S MOTION TO EXCLUDE                                                KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 4                                                510 W. RIVERSIDE AVE., #300
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 1   the propane, and allowed her young son to help him re-light the pilot light. (Elosu Depo.
 2   53:18-55:18; 57:23-58:5 and 59:15-19).
 3
            12.    In their Complaint, Plaintiffs allege the Ranch employee lit the pilot light
 4
     “despite requests to the contrary.” (Complaint (ECF 1) ¶ 1). But Plaintiff Elosu admitted
 5
     never instructed him not to light the pilot. (Elosu Depo. 59:20-60:24). After he was finished,
 6

 7   Plaintiff Elosu told the Ranch employee: “Thank you…everything was perfect.” (Id. at 62:9-

 8   14 and 63:12-14).

 9          13.     Plaintiff Elosu and her children then left the cabin for the swimming hole in
10
     the early afternoon. (Id. at 63:15-17). At approximately 4:00 pm, while they were still away
11
     and the cabin was empty, a fire started and eventually consumed the whole cabin. (ECF 1, ¶
12
     21).
13
            14.    The first people to notice and respond to the fire were a group of contractors
14

15   who were building a cabin next door. (Brace Depo. 40:1-10; 40:25-41:3). When they first

16   arrived, the fire was localized on the east deck, near the south-east corner. (Pyle Depo. 15:3-
17   7; 17:12-23; 20:3-12; 33:3-7; 84:22-85:4; Rauch Depo. 13:4-18; 15:13-25; Gamez Depo.
18
     14:12-17:25). They tried to extinguish it with a garden hose, but aided by a significant 15-
19
     20 mph prevailing wind blowing from south to north up the canyon, the fire spread north to
20
     eventually engulf the whole cabin in flame. (Pyle Depo. 21:8-11; 22:2-23; Rauch Depo. 18:4-
21

22   14; Gamez Depo. 18:11-13; 22:3-12; 31:11-13; 37:20-38:2). The fire suppression efforts then

23   shifted to preventing the spread of the fire further north to other cabins and property. (Id.)

24   Pre-Litigation Investigation
25          15.    Four days after the fire, Plaintiffs’ homeowners insurer, Farmers, retained and
26
     sent a fire expert to the Ranch to investigate the scene. (Brace Depo. 43:19-25 and 48:17-
27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 5                                                 510 W. RIVERSIDE AVE., #300
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 1   20). That expert, Shane Hartgrove, described a “black hole,” and could not determine the
 2   cause or origin of the fire. (Hartgrove Depo. 58:13-59:6). He specifically considered whether
 3
     the fire started due to the pilot light on the propane fridge on the north deck, but found no
 4
     evidence to support that theory. (Id. at 32:1-23; 33:17-35:5; 47:13-49:8).
 5
            16.    The Ranch’s insurer, Philadelphia Ins., also retained and sent its own fire expert
 6

 7   to investigate the scene. That expert, Glenn Johnson, conducted a scene investigation on

 8   September 25, 2017 and interviewed various Ranch employees and cabin owners. (Johnson

 9   Depo. 116:6-10; 116:20-117:8). At that time, both investigators, Mr. Johnson and Mr.
10
     Hartgrove, also jointly interviewed the contractors who were the first to respond to the fire.
11
     (Hartgrove Depo. 37:12-38:3).
12
            17.    All of the contractors interviewed, including Kenny Pyle, Regee Rauch, and
13
     Greg Gamez, confirmed that the fire was initially located on the east deck at the south-east
14

15   corner, and there was no fire on the north deck where the propane fridge was located.

16   (Hartgrove Depo. 18:23-19:20; 37:12-38:3; 40:3-23; 41:8-42:19; 44:2-12). In particular, Mr.
17   Pyle fought the fire on that south-east corner with a garden hose. (Pyle Depo. 20:18-20; 21:8-
18
     22:17; 34:16-36:25; 84:22-85:4). Mr. Rauch, meanwhile, went around the cabin banging on
19
     windows to check if anyone was inside. (Rauch Depo. 14:13-21; 16:1-6; 31:12-15). He first
20
     went to the west entrance and with another person, kicked in the front door. Inside, he saw
21

22   “big flame,” “a lot of fire and smoke.” (Id. at 16:9-21; 17:9-13; 32:24-33:5). Not able to go

23   inside, Mr. Rauch then continued around the outside of the cabin, all the way around to the

24   north side, banging on windows next to the fridge. (Id. at 17:14-23). There was no fire on the
25   north deck of the cabin at that time. (Id. at 17:24-18:3; 18:15-17; 19:9-19; 38:2-39:2). (The
26
     photo in paragraph 3 above is an exhibit from Mr. Rauch’s deposition, on which he marked
27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 6                                                 510 W. RIVERSIDE AVE., #300
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 1   his location on the north side of the cabin. His location at the edge of the north deck is where
 2   the fridge was located).
 3
              18.   The diagrams and photos below are from the subsequent depositions of these
 4
     contractors, Pyle, Rauch, and Gamez, who marked in red pen the initial location of the fire,
 5
     and in blue pen their own paths of travel. The north deck, where the propane fridge was
 6

 7   located, is on the opposite side of the cabin from their indications of the initial location of the

 8   fire:

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17           (Pyle Depo. exhs. 1 and 3).

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26           (Rauch Depo. exhs. 6 and 7).

27
     DEFENDANT’S MOTION TO EXCLUDE                                                   KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 7                                                   510 W. RIVERSIDE AVE., #300
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 8
           (Gamez Depo. exhs. 9 and 11).
 9
            19.    The photo below was from a video taken by Mr. Gamez early on in the fire but
10

11   after initial attempts to extinguish it with a garden hose. (Gamez Depo. 26:2-4; 26:12-27:7).

12   The photo is from the south side of the cabin; the large flame is on the south-east corner of
13   the east deck, where all of the contractor witnesses testified was the initial location of the
14
     fire. (Id. at 14:12-22; 16:15-17:5; Pyle Depo. 23:25-24:6; 33:3-7; Rauch Depo. 15:9-21). The
15
     wind was blowing the smoke and fire from the south to the north (away from the camera).
16
     The north deck with the propane fridge is on the opposite side of the cabin (away from the
17

18   camera).

19

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     DEFENDANT’S MOTION TO EXCLUDE                                                KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 8                                                510 W. RIVERSIDE AVE., #300
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 1          20.    Fire investigator Johnson, like Mr. Hartgrove, was unable to determine on a
 2   more probable than not basis what caused the fire. (Johnson Depo. 118:3-7). Because of
 3
     unresolved questions about how the oil stain was applied and how oil soaked rags and
 4
     materials may (or may not) have been disposed, Mr. Johnson opined that it was possible the
 5
     fire was the result of spontaneous combustion. (Id. at 35:9-12; 36:3-13; 124:9-21). However,
 6

 7   due to the testimony from the disinterested witnesses about the initial location of the fire,

 8   combined with early photos, he was able to determine the area of origin on the east deck near

 9   the south-east corner, and rule out the north deck (and the propane fridge/pilot light on that
10
     north deck) as the area or point of origin. (Id. at 34:25-35:8; 62:16-18; 115:22-116:2).
11
            21.    Mr. Johnson’s report, dated October 1, 2017, was provided to Plaintiffs on
12
     October 18, 2017. (Kobluk Decl. ¶ 10). This report included the accounts gathered from the
13
     first responding witnesses, Pyle, Rauch and Gamez.
14

15          22.    Plaintiff later requested the audio recording of the fire investigators’ interviews

16   of these contractor witnesses. This audio recording was also provided to Plaintiff. (Id.).
17          23.    As a result of the fire investigations, including the witness testimony, Plaintiffs’
18
     homeowners insurer paid its policy limits to Plaintiffs, and waived any potential subrogation
19
     claim against the Ranch. (Brace Depo. 51:6-7; 52:1-5 and 62:3-10).
20
            24.    Plaintiffs subsequently retained their own fire investigator from California.
21

22   (Plaintiff is himself an attorney residing in Southern California). (Id. at 5:17-23; 6:15; 51:7

23   and 18-21). Plaintiff’s fire investigator, Michael Koster, visited the scene almost a year after

24   the fire, in May 2018. (Koster Depo. 15:10-16:1). Mr. Koster in turn retained a mechanical
25   engineer, Richard Mumper, to conduct a laboratory analysis of materials gathered at the
26

27
     DEFENDANT’S MOTION TO EXCLUDE                                                  KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 9                                                  510 W. RIVERSIDE AVE., #300
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 1   scene, including remnants of the propane fridge at issue. (Id. at 102:1-10; Mumper Depo.
 2   6:17-18; 17:5-21; and 38:17-39:13).
 3
            25.    Plaintiffs’ experts did not interview any witnesses. (Koster Depo. 29:11-14;
 4
     Mumper Depo. 35:18-20). They spoke only to Plaintiffs and accepted and relied solely on
 5
     their version of disputed facts. (Koster Depo. 28:23-29:4; 43:18-25; Mumper Depo 35:18-
 6

 7   20).

 8          26.    Koster and Mumper have opined that the fire originated on the north deck as

 9   a result of Penofin oil and vapors being ignited by the pilot light on the propane fridge.
10
     (Koster Depo. 40:11-17; Mumper Depo. 76:21-23). Plaintiffs disclosed Koster’s initial fire
11
     investigation report to the Ranch on February 16, 2019, and Mumper’s mechanical
12
     engineering report on April 3, 2019. (Kobluk Decl. ¶ 11).
13
     Litigation Deadlines and Disclosures
14

15          27.    Plaintiffs filed their lawsuit against Middlefork Ranch on July 11, 2019. (ECF

16   1).
17          28.    Initial disclosures were exchanged in accordance with the Court’s Order (ECF
18
     6) and Fed.R.Civ.P. 26(a)(1) on October 25, 2019. These included references to the experts
19
     and written reports already exchanged pre-litigation.
20
            29.    The contractor witnesses who were the first responders, Pyle, Rauch and
21

22   Gamez, were deposed in December 2019. These witnesses confirmed what they told fire

23   investigators Hartgrove and Johnson when interviewed two years earlier, in September 2017,

24   about the initial location of the fire on the south-east corner of the east deck, and the absence
25   of fire on the north deck. (Pyle Depo. 33:7-20; Rauch Depo. 24:14-21; Gamez Depo. 25:1-
26
     9).
27
     DEFENDANT’S MOTION TO EXCLUDE                                                  KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 10                                                 510 W. RIVERSIDE AVE., #300
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 1            30.   According to the Order Setting Trial and Pretrial Dates (ECF 13), the deadline
 2   for expert witness disclosures was January 10, 2020. On that date, Defendant referred to
 3
     Johnson’s fire investigation report previously disclosed in October 2017. (Kobluk Decl. ¶
 4
     14). Plaintiffs produced updated reports from their fire investigator, Koster, and mechanical
 5
     engineer, Mumper. (Id.). The updates to the pre-litigation reports were minor and not
 6

 7   substantive. (Id.; Koster Depo. 26:6-10; Mumper Depo. 21:8-13).

 8            31.   Pursuant to Fed.R.Civ.P. 26(a)(2)(D)(ii), Defendant disclosed a Rebuttal report

 9   from its fire expert, Johnson, on February 10, 2020. (Kobluk Decl. ¶ 15).
10
              32.   Plaintiffs did not disclose any Rebuttal report from their experts.
11
              33.   Following the passing of the various Case Schedule and Court Rule deadlines
12
     for expert disclosures, the parties coordinated the depositions of Defendant’s fire
13
     investigator, Johnson (February 19, 2020 in Spokane), and Plaintiffs’ fire investigator,
14

15   Koster, and mechanical engineer, Mumper (February 27, 2020 in California). (Kobluk Decl.

16   ¶ 16).
17            34.   The deadline for completion of discovery was February 28, 2020. (ECF 13).
18
     Untimely/Late Disclosed Documents and Materials
19
              35.   On February 25, 2020, at 8:26 pm—45 days after the expert report deadline,
20
     15 days after the deadline for rebuttal reports, and 2 days before the discovery cut-off—
21

22   Plaintiff’s counsel emailed Defendant’s counsel a link to “supplemental production of

23   documents,” which was voluminous, and included information and materials not contained

24   in any previous disclosure or report.       (Kobluk Decl. ¶ 17). The new and previously
25   undisclosed information and materials included a spontaneous combustion “experiment” that
26
     Koster performed in a cardboard box in his California backyard, and computer wind
27
     DEFENDANT’S MOTION TO EXCLUDE                                                  KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 11                                                 510 W. RIVERSIDE AVE., #300
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 1   modeling and air flow analysis done by Mumper at Koster’s request. (Kobluk Decl. ¶ 18;
 2   Koster Depo. 117:25; Mumper Depo. 22:25-23:15).
 3
            36.    February 26 was a travel day, as counsel made their way to California to depose
 4
     Plaintiffs’ experts, Koster and Mumper on February 27. Defendant’s counsel was unable to
 5
     reasonably or meaningfully review the newly dumped materials, nor examine Plaintiffs’
 6

 7   experts as to the reasonableness, reliability or sufficiency of the untimely experiments or

 8   analysis, which are not contained in any expert report. (Kobluk Decl. ¶ 19; Mumper Depo.,

 9   23:15; 84:25-85:3).
10
            37.    Fire investigator Koster admitted that the untimely analysis, testing, and
11
     materials did not factor into his previously formed opinions. (Koster Depo. 104:12-105:7).
12
                                             DISCUSSION
13
     A.    Daubert Standard.
14

15         In deciding the admissibility of expert testimony, courts have a “gatekeeping

16   obligation” to ensure expert testimony is reliable. Kumho Tire Co., Ltd., v. Car Michael, etc.,
17   526 U.S. 137, 141 (1999). F.R.E. 702 requires that expert testimony: (1) be based upon
18
     sufficient facts or data, (2) be the product of reliable principles or methods, and (3) reliably
19
     apply the principles and methods to the facts of the case. Under Daubert, expert opinion
20
     testimony must be relevant and reliable. Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010),
21

22   as amended (Apr. 27, 2010) (quoting Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579,

23   597 (1993). The trial court has discretion to determine whether the expert and proffered

24   testimony are reliable. Id. at 564. The methodologies employed by the proffered expert are
25   the focus of the court’s inquiries. Id. (“The test under Daubert is not the correctness of the
26
     expert's conclusions but the soundness of his methodology.”); see also Daubert v. Merrell
27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 12                                                510 W. RIVERSIDE AVE., #300
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 1   Dow Pharms., Inc., 43 F.3d 1311, 1316 (9th Cir.1995) (“Daubert II”)(“[T]he party presenting
 2   the expert must show that the expert's findings are based on sound science, and this will
 3
     require some objective, independent validation of the expert's methodology.”).
 4
               Proponents of the expert witness have the burden of demonstrating the admissibility
 5
     of the testimony. Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007). The admissibility of
 6

 7   an expert opinion requires a three-step analysis:

 8                   The admissibility of expert testimony, Rule 702, requires that the
                     trial court make several preliminary determinations, Rule 104(a).
 9                   The trial court must decide whether the witness called is properly
                     qualified to give the testimony sought. A witness may be qualified
10
                     as an expert on the basis of either knowledge, skill, experience,
11                   training, or education or a combination thereof, Rule 702. The trial
                     court must further determine that the testimony of the expert
12                   witness, in the form of an opinion or otherwise, will assist the trier
                     of fact, i.e., be helpful, to understand the evidence or to determine a
13                   fact in issue, Rule 702(a). Finally the trial court must determine that
                     as actually applied in the matter at hand, Rule 702(d), to facts, data,
14
                     or opinions sufficiently established to exist, Rule 702(b), including
15                   facts, data, or opinions reasonably relied upon under Rule 703,
                     sufficient assurances of trustworthiness are present that the expert
16                   witness' explanative theory produced a correct result to warrant jury
                     acceptance, i.e., a product of reliable principles and methods, Rule
17                   702(c).
18
     Berman v. Freedom Fin. Network, LLC, 400 F. Supp. 3d 964, 971 (N.D. Cal. 2019) (quoting
19
     Michael H. Graham, 5 HANDBOOK OF FED. EVID. § 702:1 (7th ed.)). The court’s
20
     objective “is to make certain that an expert, whether basing testimony upon professional
21

22   studies or personal experience, employs in the courtroom the same level of intellectual rigor

23   that characterizes the practice of an expert in the relevant field.” Kumho Tire Co., 526 U.S.

24   at 152.
25         1. Plaintiff’s fire investigator, Michael Koster’s speculative and unsupported
26            opinion regarding the cause and origin of the fire must be excluded.

27
     DEFENDANT’S MOTION TO EXCLUDE                                                   KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 13                                                  510 W. RIVERSIDE AVE., #300
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 1           Plaintiff’s fire investigator conducted a scene investigation and performed his cause
 2   and origin analysis almost a year after the fire. He received his factual information about the
 3
     sequence of events from the investigation reports of the initial fire investigators, Johnson and
 4
     Hartgrove. (Koster Depo. 28:19-20). Mr. Koster did not interview any witnesses, and relied
 5
     solely on factual assertions made by Plaintiff. (Id. at 28:23-29:3 and 43:18-25).
 6

 7           Koster’s “ultimate opinion” in this case is that the fire “originated along the north

 8   side of the residence.” (Id. at 40:11-17). Koster indicated the basis for that opinion was

 9             …a complete analysis of the fire scene, heat oxidation patterns, fire
               movement patterns and overall mass loss affect the remains of the structural
10
               members. A review of video footage, photographs, review of all interviews
11             and transcripts and a complete review of all data provided to this
               investigative firm.
12
     (Id. at 40:3-10).
13
           But when asked to detail the specific findings regarding each of these various bases
14

15   for his opinion, Koster acknowledged that there is no physical or testimonial evidence to

16   support the theory that the fire started on the north deck. Specifically, as to each item listed:
17         Heat oxidation patterns. Koster testified that heat oxidation (accelerated rusting on
18
     remaining metal pieces) indicated “more significant heat” on north side of the cabin as
19
     compared with the other sides. Koster admitted, however, that this was consistent with the
20
     fact that there was a significant wind blowing from south to north. (Id. at 56:11-13). He
21

22   would not say this indicated the fire started on the north side. (Id. at 54:24-55:4).

23         Fire movement patterns. Koster admitted this was the same thing. (Id. at 56:17).

24         Overall mass loss. Koster admitted that this was again the same thing: evidence of a
25   more intense fire on the north side, which is consistent with the significant wind blowing
26
     from south to north. (Id. at 56:18-25).
27
     DEFENDANT’S MOTION TO EXCLUDE                                                  KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 14                                                 510 W. RIVERSIDE AVE., #300
                                                                                   SPOKANE, WA 99201
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 1         Review of video and photos. Koster admitted the only video footage he had (video
 2   taken by contractor Gamez) did not show the fire starting on the north side. (Id. at 57:1-6).
 3
     On the contrary, he admitted the video showed significantly greater fire on the east deck as
 4
     compared with the north side. (Id. at 57:12; see photo at ¶19 above).               He also did
 5
     mathematical calculations of heat output based on flame height, which confirmed what is
 6

 7   shown in the photo: the fire was greater on the east deck than the north. (Id. at 57:13-20).

 8         Review of interviews and transcripts. Koster admitted that none of the witness

 9   interviews or transcripts supported his theory that the fire started on the north deck. (Id. at
10
     59:9-11). This included the deposition transcripts from the contractor witnesses who
11
     confirmed what they first told the fire investigators in September 2017:
12
               Q: Is there anything in Mr. Pyle’s deposition that supports your theory
13                of the ignition source being on the north side of the deck?
               A: No.
14
               Q: Okay. Is there anything in Mr. Rauch’s testimony which supports
15                your theory of the fire starting on the north deck?
               A: No.
16             Q: And, in fact, he testified that he stood right next to the north deck
                  pounding on windows and there was no fire there, correct?
17             A: Absolutely.
               Q: Okay. And was there anything in Mr. Gamez’s deposition testimony
18
                  that supports your theory of the fire starting on the north deck?
19             A: No, it does not.

20   (Id. at 61:14 -62:4)
21         Review of data provided. Koster was provided and reviewed the Material Safety Data
22
     Sheet for Penofin, which provided that the Penofin oil stain would be dry to the touch in four
23
     hours and serviceable in 12 hours. (Id. at 69:2-21). The fire occurred approximately 20
24
     hours after the stain was applied. Koster’s theory depends on the existence of “puddles or
25

26   excessive amounts of stain applied to the deck,” but he admits that description came solely

27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 15                                                510 W. RIVERSIDE AVE., #300
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 1   from Plaintiffs, and he is aware of no other witnesses or corroborating evidence. (Id. at 70:2-
 2   18).
 3
            Further, Koster’s theory depends not only on the existence of excessive oil stain that
 4
     either pooled on the top of the deck, or seeped between the boards into the ground underneath
 5
     (and was still wet long after the manufacturer’s data sheet indicated it would be), but also on
 6

 7   the weather conditions and temperature that existed on or under the deck. His theory is that

 8   ambient temperatures exceeded the flash point of stain vapors, and these evaporating vapors

 9   were ignited by the propane fridge pilot light. (Id. at 87:6-9; 99:18-100:1). The ignited vapors
10
     then lit the excessive stain on the north and east decks. (Id. at 98:16-24).
11
             Koster, however, admitted he had no data to support that theory: he admitted he had
12
     no data or objective evidence to corroborate the sequence or timing of events (Id. at 63:13-
13
     16). He had no objective evidence to determine how much oil stain was used (Id. at 76:20);
14

15   how it was applied (Id. at 74:3-22); how much was cleaned up (Id. at 72:23); how much may

16   have seeped under the deck (Id. at 76:17; 89:21-24); what the ground/dirt was like under the
17   deck (Id. at 76:21-77:24); or whether the stain mixed with water used to pressure-wash the
18
     deck prior to staining (Id. at 77:25-78:12). Further, there is no weather data for Pistol
19
     Creek/Middlefork Ranch (Id. at 84:21-25). Koster had no applicable temperature data. (Id. at
20
     86:13-15). Specifically, there is no data for the temperature of the east deck prior to the fire.
21

22   (Id. at 85:1-6); or the north deck (Id. at 85:8-11); or the void/crawl space under the deck (Id.

23   at 85:12-18; 99-100:1). He had no data as to the temperature of the covered decks or ground

24   surfaces that were in the shade as compared with ambient temperatures. (Id. at 86:1-15).
25   While there is testimony that it was windy (blowing through the canyon from south to north),
26
     Koster admitted he had no climate or weather data to confirm the extent of the wind at Pistol
27
     DEFENDANT’S MOTION TO EXCLUDE                                                  KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 16                                                 510 W. RIVERSIDE AVE., #300
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 1   Creek (Id. at 86:23-25). Likewise, he had no data as to the concentration of Penofin vapors
 2   (Id. at 92:12-16; 97:17-98:7), their location or source (Id. at 87:10-23), or their evaporation
 3
     rate in the 20 hours leading up to the fire. (Id. at 94:5-17).
 4
            Plaintiffs have merely advanced a hypothetical, based solely on Plaintiffs’ allegations
 5
     but which is not supported by objective evidence. Koster admitted he reached his conclusion
 6

 7   not by having evidence to support his theory, but by “disproving” other potential causes:

 8             Q: …what supports the conclusion that the fire started on the north
                  side?
 9             A: Well, in order to get to that, we have to look at every angle or every
                  possibility, not even proving, put trying to disprove other causes.
10

11   (Id. at 41:5-9; 42:21-23).

12          Koster further explained that he tried to disprove his hypothesis, and “if you can’t

13   disprove it, then that could be a potential working hypothesis that you’re moving forward
14
     with.” (Id. at 123:24-124:1). Proof requires more than the absence of evidence. A “working
15
     hypothesis” of what potentially “could” have happened—which is contrary to witness
16
     testimony and photographic evidence—is not sufficiently reliable to present to the jury
17
     without actual evidence to support the hypothesis on a more probable than not basis.
18

19   Speculation couched as expert opinion is neither helpful nor proper. The unsupported

20   opinions of Mr. Koster concerning the cause and origin of the fire should be excluded.
21         2. Plaintiff’s mechanical engineer, Richard Mumper’s opinion regarding the
22            cause of the fire must be excluded.

23          Richard Mumper is a mechanical engineer. (Mumper Depo. 6:17). He is not a

24   certified fire investigator, did not conduct a fire inspection and analysis, and cannot testify as
25   to the results of such a fire investigation. (Id. at 8:9; 9:13; 24:18-19; 45:19). He did not
26
     participate in any site inspection or interview any witnesses. (Id. at 27:9-15; 35:20). Rather,
27
     DEFENDANT’S MOTION TO EXCLUDE                                                   KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 17                                                  510 W. RIVERSIDE AVE., #300
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 1   Plaintiff’s fire inspector, Koster, sent the burned remains of the propane fridge and other
 2   physical evidence from the scene to Mumper, who was to conduct a mechanical engineering
 3
     examination of the materials in his laboratory to see if he could determine if such materials
 4
     caused the fire. (Id. at 13:3-5; 14:13-15:21; 17:18-21; 24:10-17; 25:13-16; 39:6-13; Koster
 5
     Depo. 101:11-102:4).
 6

 7           Mumper admitted in his deposition that his lab inspection did not reveal anything to

 8   support Koster’s hypothesis that the fire started on the north deck due to the propane fridge

 9   pilot light. (Mumper Depo. 41-24-44:3). Specifically:
10
               Q: …is there anything that you found during your laboratory testing
11                that would shed any light on the origin of the fire?
               A: Not on the laboratory inspection.
12             Q: Okay.
               A: Just know that there’s no indicator on any of those components that
13                would indicate that they caused the fire.
14
     (Id. at 44:6-13).
15
           Likewise, Plaintiffs’ fire investigator, Koster, testified that he never got a report from
16
     Mumper regarding his engineering analysis, but did have a conversation with him. (Koster
17
     Depo. 102:11-18).        Koster acknowledged that Mumper was unable to show from a
18

19   mechanical engineering standpoint where the fire started. (Id. at 103:3-16). Koster went on

20   to admit that he did not use or rely on any information, lab testing, or mechanical engineering
21   analysis from Mumper to support his cause and origin opinion:
22
               Q: …I just want to know what information you got from him [Mumper]
23                was used to support your conclusion because you don’t reference
                  any of them in…your reports. So I…just need to know if you relied
24                upon any of his testing or mechanical engineering in drawing your
                  conclusions.
25             A: No, my conclusion was already drawn way before that.
26
     (Id. at 104:25-105:7).
27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 18                                                510 W. RIVERSIDE AVE., #300
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 1         Because Mumper’s mechanical engineering analysis of the physical evidence did not
 2   reveal anything to support Plaintiffs’ hypothesis that the fire started on the north deck due to
 3
     the propane fridge pilot light, and the fire investigator, Koster, did not consider or rely on his
 4
     engineering analysis to formulate his opinion as to the fire’s cause or origin, Mumper’s
 5
     testimony concerning the cause or origin of the fire should be excluded in its entirety as
 6

 7   unsupported and unhelpful to the jury.

 8         3. Mr. Mumper’s legal conclusions and factual statements must be excluded.

 9          Proffered experts are prohibited from opining on ultimate issues of fact since such
10
     opinions may “invade the province of” the jury. Nationwide Transport Finance v. Cass
11
     Information Systems, Inc., 523 F.3d 1051, 1060 (9th Cir. 2008) (“evidence that merely tells
12
     the jury what result to reach is not sufficiently helpful to the trier of fact to be admissible”).
13
     Further, proffered experts may not opine on questions of law which are matters for the court.
14

15   Id. at 1058 (deciding questions of law is the exclusive province of the trial judge); McHugh

16   v. United Service Auto Assoc., 164 F.3d 451, 454 (9th Cir. 1999) (expert testimony cannot be
17   used to provide the legal meaning or interpretation of insurance policy terms); Aguilar v. Int'l
18
     Longshoremen's Union Local No. 10, 966 F.2d 443, 447 (9th Cir. 1992) (expert opinion that
19
     reliance was reasonable and foreseeable were inappropriate subjects for expert testimony).
20
            Apart from his mechanical engineering laboratory analysis—which turned up nothing
21

22   useful—Mr. Mumper expressed various opinions that are beyond the scope of his mechanical

23   engineering expertise. Again, he admitted he was not a fire investigator, and was ostensibly

24   leaving the fire cause and origin analysis to Mr. Koster. (Mumper Depo. 8:9; 9:13; 24:18-19;
25   27:9-15; 41:1-4; 45:19). Mumper also is not a legal expert, and is not qualified to provide
26
     legal conclusions. (Id. at 9:8-23; 53:11-14). Yet Mumper purports to express opinions that
27
     DEFENDANT’S MOTION TO EXCLUDE                                                   KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 19                                                  510 W. RIVERSIDE AVE., #300
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 1   are legal conclusions, or are simply restatements of Plaintiffs’ version of disputed facts or
 2   Koster’s conclusions. None of his opinions is based on his mechanical engineering expertise
 3
     or analysis. Factual recitations or legal conclusions couched as “opinions” are improper and
 4
     must be excluded.
 5
            First, Mumper opines: “the fire did not occur due to the actions or inactions on the
 6

 7   part of the Brace family.” (Id. at 46:1-3). That is a legal conclusion. It is for the jury to

 8   determine whose actions proximately caused the fire. Further, that conclusion is inconsistent

 9   with Plaintiff’s own theory, which is based on the assertion that Mr. Brace applied an
10
     excessive amount of Penofin oil stain. It is also inconsistent with Ms. Elosu’s testimony that
11
     she directed the Ranch employee to change the propane and re-light the pilot. Regardless,
12
     Mumper is neither qualified to advance a legal conclusion regarding fault, nor to resolve
13
     factual disputes, both of which are the province of the jury.
14

15          Second, Mumper opines that the fire was “not caused by rags.” (Id. at 56:23-57:1).

16   Mumper has here offered an opinion concerning the cause and origin of the fire while
17   simultaneously and contradictorily conceding that he is not a fire expert would defer to a fire
18
     investigator as to the fire’s cause and origins. Moreover, Mumper acknowledges that there
19
     are unaccounted for rags and oil-soaked materials, and merely accepts the allegations made
20
     by Plaintiffs. (Id. at 58:7-24; 62:10-13; 63:5-21; 66:11-15). This opinion is not supported
21

22   by any mechanical engineering analysis, and is beyond Mumper’s expertise.

23          Third, Mumper opines that the Ranch employee “was familiar with the safety

24   requirements” and “knew or should have known the dangers of lighting a pilot light.” (Id. at
25   67:4-5; 74:8-9). Mumper argued the employee’s actions should equate with legal duties
26
     owed by propane providers, but admitted that was a legal question beyond his expertise. (Id.
27
     DEFENDANT’S MOTION TO EXCLUDE                                                KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 20                                               510 W. RIVERSIDE AVE., #300
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 1   at 69:4-22). Otherwise, this is a factual dispute to which Mumper has no personal knowledge,
 2   and which is within the province of the jury. Mumper admitted that there was “nothing from
 3
     a mechanical engineering perspective” that would resolve the factual dispute one way or the
 4
     other. (Id. at 73:6-22).
 5
             Finally, Mumper’s “concluding opinion” was: “had [the Ranch employee] not
 6

 7   introduced an open flame by…lighting the deck refrigerator pilot, the vapors from the

 8   penetrating oil on the deck would not have ignited the fire.” (Id. at 76:18-23). Mumper is

 9   not a certified fire investigator and admitted he was merely “relying on…work that’s done
10
     by Mike Koster.” (Id. at 77:1-9). He is not qualified to give an opinion—unrelated to his
11
     mechanical engineering analysis—as to how the fire started. Mumper should not be allowed
12
     simply to repeat the conclusion expressed by another expert.
13
             Further, whether the pilot light was already on when the Ranch employee changed
14

15   the propane is a fundamental factual question for the jury. Mumper acknowledged he

16   assumed plaintiffs’ allegations and conceded that that factual determination was not based
17   on any mechanical engineering analysis:
18
               Q: Did any of the laboratory testing that you did on that fridge either
19                support or contradict the idea of whether the pilot light had been lit
                  previously or relit or anything like that?
20             A: No.
21   (Id. at 78:22-79:1).
22
           Because Mumper did not conduct the fire investigation analysis—and is not qualified
23
     to do so—he should not be able to express an opinion as to the purported cause and origin of
24
     the fire. That opinion is admittedly not based on any mechanical engineering analysis, nor
25

26

27
     DEFENDANT’S MOTION TO EXCLUDE                                                KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 21                                               510 W. RIVERSIDE AVE., #300
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 1   supported by objective factual evidence. As such, it is beyond the scope of his expertise, is
 2   not based on sufficient facts or data, and would invade the province of the jury.
 3
     B.    In Addition, This Court Should Not Allow Untimely Materials and Analysis Not
 4         Contained in the Experts’ Reports, and Not Disclosed Pursuant to Court Ordered
           Deadlines.
 5
            Rule 26(a)(2)(B) requires parties to produce a written report by each expert witness
 6

 7   that includes “a complete statement of all opinions the witness will express and the basis and

 8   reasons for them [and the] the facts or data considered by the witness in forming them.” The

 9   report must be produced by the court ordered deadline. Fed.R.Civ.P. 26(a)(2)(B); Goodman
10
     v. Staples The Office Superstore, LLC, 644 F.3d 817, 827 (9th Cir. 2011). “Rule 37 gives
11
     teeth to Rule 26's disclosure requirements by forbidding the use at trial of any information
12
     that is not properly disclosed.” Goodman, 644 F.3d at 827 (internal quotation marks omitted).
13
     Rule 37(c)(1) is a “self-executing,” “automatic” sanction designed to provide a strong
14

15   inducement for disclosure. Id. (quoting Fed.R.Civ.P. 37 advisory committee's note (1993)).

16         In the case at hand, without any explanation or justification, Plaintiffs disclosed
17   additional documents from their experts Koster and Mumper 45 days after the expert report
18
     deadline, and 15 days after the deadline for rebuttal reports. Moreover, the disclosures were
19
     made just a day prior to the deposition of those experts by Middlefork Ranch’s counsel,
20
     making preparation (during the travel day) impossible. Nor could the depositions be delayed
21

22   as the Court ordered deadline to complete discovery was the next day.

23         Middlefork Ranch could not reasonably examine Plaintiffs’ experts regarding the

24   reliability or sufficiency of this newly dumped voluminous material, and was precluded from
25   having its own experts review or analyze the untimely materials or preparing a rebuttal.
26
     Middlefork Ranch has been “obviously prejudiced” by the late disclosures for which there is
27
     DEFENDANT’S MOTION TO EXCLUDE                                                KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 22                                               510 W. RIVERSIDE AVE., #300
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 1   no justification. The Court should exclude any and all untimely documents and information
 2   contained in the February 25, 2020 document dump entitled “supplemental production of
 3
     documents.” The inadmissible late materials include, but are not limited to, a spontaneous
 4
     combustion experiment and a wind modeling/air flow analysis. These are complex scientific
 5
     tests and analyses for which there was no opportunity to test their reliability, and that were
 6

 7   not used to support the fire cause and origin opinions previously disclosed in any event

 8   (Koster Depo. 24:9-25:2). Defendant has been prejudiced by the late disclosure, inability to

 9   rebut, and inability to adequately prepare rebuttal evidence.
10
            1. Spontaneous combustion “testing” performed by Mr. Koster and chemist
11             Doug Byron in Mr. Koster’s back yard;

12           In addition to being untimely and undisclosed in any expert report, Mr. Koster

13   purports to have performed a spontaneous combustion fire experiment in a cardboard box
14
     sitting on a brick wall in the backyard of his southern California home. (Kobluk Decl. ¶ 18;
15
     Koster Depo. 117:24-118:1). The experiment was not performed under the same conditions,
16
     at the same latitude, the same altitude, the same temperature, the same humidity, the same
17
     barometric pressure, or much less in the same or similar circumstances whatsoever. The test
18

19   experiment purported to test spontaneous combustion but it does not appear that any attempt

20   was made to approximate or simulate the conditions that existed at the cabin in the mountains
21   of central Idaho at the time of the fire.
22
             Moreover, Koster admitted there is no temperature or climate data applicable to the
23
     Ranch or Cabin #16 from the time of the fire, nor is there competent evidence concerning the
24
     condition of the rags, mops or applicators used. The experiment was not conducted using a
25

26

27
     DEFENDANT’S MOTION TO EXCLUDE                                                KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 23                                               510 W. RIVERSIDE AVE., #300
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 1   reliable methodology and all testimony concerning the experiment should be excluded. The
 2   untimely experiment is both unreliable and irrelevant and does not assist the trier of fact.
 3
            2.   Mr. Mumper’s air flow analysis and related computer modeling.
 4
            Also contained in the untimely document dump were materials from mechanical
 5
     engineer, Mumper, regarding air flow computer modeling. Mumper admitted he was asked
 6

 7   to do “additional work” consisting of air flow modeling only after the applicable expert

 8   disclosure deadlines had passed, and after disclosures had already been made regarding

 9   opinions and the bases therefore. (Mumper Depo. 22:21-23:15 and 79:2-15). Mumper
10
     further admitted he did not detail his air modeling analysis or results in any report. (Id. at
11
     23:13-15 and 85:1-3). Nor did fire investigator Koster consider or rely on any such air flow
12
     analysis or wind modeling as a basis for his cause and origin conclusions. (Koster Depo.
13
     105:3-7 and 106:17-19).
14

15          During his deposition, Mumper indicated that he did the additional air modeling to

16   address the testimony of contractor Regee Rauch, who was the contractor who went to the
17   north deck pounding on windows, and testified that there was no fire there initially. But
18
     Plaintiffs knew of Rauch’s observations and testimony when the contractors were
19
     interviewed by the fire investigators in September 2017. Not only was his account included
20
     in fire investigator Johnson’s report, produced to Plaintiffs in October 2017, the audio
21

22   recording of the witness interviews was also produced to Plaintiffs at that time. This witness

23   information was referenced by Mumper in his initial April 2019 report, and was certainly

24   available for Mumper to consider and respond to at that time.
25          At the very least, the contractors, including Rauch, confirmed their accounts during
26
     their depositions in December 2019. Mumper admitted he received and reviewed the
27
     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 24                                                510 W. RIVERSIDE AVE., #300
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 1   transcripts of these depositions prior to his updated January 10, 2020 report. (Mumper Depo.
 2   23:19-24:6). Again, Mumper did not include any wind analysis or modeling in his updated
 3
     report. (Id. at 23:5-15; 85:3). Nor did he prepare or disclose a “rebuttal” report in accordance
 4
     with Fed.R.Civ.P. 26(a)(2)(D)(ii). Documents regarding Mumper’s undisclosed air flow
 5
     modeling, dumped on the eve of his deposition and the discovery cut off are properly
 6

 7   excluded.

 8                                          CONCLUSION

 9         For the reasons stated herein, this Court should exclude the opinions of Plaintiffs’
10
     experts Michael Koster and Richard Mumper.
11

12
           DATED this 23rd day of October 2020.
13
                                                  /s Gerald Kobluk
14
                                                  Attorneys for Defendant
15

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     DEFENDANT’S MOTION TO EXCLUDE                                                 KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 25                                                510 W. RIVERSIDE AVE., #300
                                                                                  SPOKANE, WA 99201
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 1                                CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on the 23rd day of October 2020, I filed the foregoing
     electronically through the CM/ECF system, which caused the following parties or counsel to
 3   be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

 4   Patrick C. Bageant, Attorney for Plaintiffs
     pbageant@hollystonelaw.com
 5

 6

 7
                                                   /s Gerald Kobluk
 8

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27
     DEFENDANT’S MOTION TO EXCLUDE                                             KSB LITIGATION P.S.
28   EXPERT TESTIMONY - 26                                            510 W. RIVERSIDE AVE., #300
                                                                              SPOKANE, WA 99201
                                                                                     (509) 624-8988
